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                  IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

V.                              NO. 4:10CR00188-009 SWW

REGINA LYNCH                                                                  DEFENDANT

                                            ORDER

       This matter is before the Court on defendant’s motion for early termination of supervised

release. The government has no objection to early termination of defendant’s supervised release.

The U.S. Probation Office has advised the Court that the defendant has demonstrated overall

progress in meeting supervision objectives and recommends early termination of supervision.

       The Court finds that defendant’s motion [doc #478] should be, and hereby is, granted.

       IT IS THEREFORE ORDERED that defendant’s remaining term of supervised release

previously imposed be, and it is hereby, terminated.

       Dated this 1st day of September, 2016.

                                                       /s/Susan Webber Wright

                                                       United States District Judge
